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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


IN RE APPLICATION OF DR. HELEEN
MEES,

                            Applicant,                   No. 16-MC-00209-LAP

For Leave to Issue Subpoenas for the Taking of a         MOTION FOR WITHDRAWAL
Deposition and the Production of Documents               OF COUNSEL
Pursuant to 28 U.S.C. § 1782



        Grant & Eisenhofer P.A. and Olav A. Haazen, Esq., hereby move, pursuant to Local Civil

 Rule 1.4, to withdraw as counsel for Applicant Dr. Heleen Mees in this matter, for the reasons

 stated below:

    1. Grant & Eisenhofer P.A. represented Applicant in this matter against Respondent Elizabeth

 Lorca Buiter but now wishes to withdraw as counsel.

    2. Grant & Eisenhofer P.A. has ceased to represent Dr. Mees in this and all related matters.

    3. In each of two related matters, In re Application of Dr. Heleen Mees v. Willem H. Buiter,

 SDNY Case No. 14-MC-00088-LAP, and In re Application of Dr. Heleen Mees v. Citigroup Inc.,

 SDNY Case No. 15-MC-00262, Grant & Eisenhofer P.A. and Olav A. Haazen filed Motions to

 Withdraw as Attorney on February 21, 2018 (14-MC-00088 Dkt. 59; 15-MC-00262 Dkt. 59)

 which were granted by the Honorable Preska in a memo endorsement on February 26, 2018 (14-

 MC-00088 Dkt. 62) and February 28, 2018 (15-MC-00262 Dkt. 60), respectively.

    4. In addition to the present Motion, we are concurrently filing a Motion to Withdraw as

 Counsel in another related matter, In re Application of Dr. Heleen Mees v. Citigroup Inc., SDNY

 Case No. 14-MC-00056.

    5. Dr. Mees wishes to proceed pro se. She joins in this request, and has counter-signed below.

    6. Grant & Eisenhofer P.A. is not asserting a retaining or charging lien.
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   7. The undersigned counsel is filing this application to withdraw by ECF, thereby causing it

to be served on all appearing parties. This Motion was also served upon the Applicant pursuant to

the Affirmation of Service filed herewith.

Dated:   January 9, 2019
         New York, New York

                                             GRANT & EISENHOFER P.A.

                                             By:      s/ Olav A. Haazen

                                                   OLAV A. HAAZEN
                                                   485 Lexington Avenue, 29th Floor
                                                   New York, NY 10070
                                                   Tel.: 646-722-8500
                                                   Fax: 646-722-8501
                                                   ohaazen@gelaw.com


Dated:   January ___,
                   9 2019
         New York, New York

                                             By:

                                                   Dr. Heleen Mees
                                                   The Sweeney Building
                                                   30 Main Street Apt. 11H
                                                   Brooklyn, NY 11201
                                                   heleen@heleenmees.com


SO ORDERED:


______________________________________

HONORABLE LORETTA A. PRESKA
UNITED STATES DISTRICT JUDGE
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


IN RE APPLICATION OF DR. HELEEN
MEES,

                            Applicant,                    No. 14-MC-00209-LAP

For Leave to Issue Subpoenas for the Taking of a          AFFIRMATION OF SERVICE
Deposition and the Production of Documents
Pursuant to 28 U.S.C. § 1782




        I, Olav A. Haazen, declare under penalty of perjury that I served a copy of the attached

 Motion for Withdrawal of Counsel upon Dr. Heleen Mees by e-mail and express mail on January

 9, 2019 at:

        Dr. Heleen Mees
        The Sweeney Building
        30 Main Street Apt. 11H
        Brooklyn, NY 11201
        heleen@heleenmees.com

 Dated: January 9, 2019                              GRANT & EISENHOFER P.A.

                                                     s/ Olav A. Haazen

                                                     OLAV A. HAAZEN
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                                                     ohaazen@gelaw.com

                                                     Counsel for Applicant Dr. Heleen Mees
